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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 VICTOR FRANCO PEREZ, et al.,                                    :
                                                                 :
                                                                 :   ORDER REGULATING
                                                                 :   PROCEEDINGS
                                          Plaintiffs,
                                                                 :
              -against-                                          :   16 Civ. 4375 (AKH)
                                                                 :
                                                                 :
                                                                 :
 SUPER GOURMET FOOD CORP. (d/b/a                                 :
 THUNDER JACKSON’S), et al.,                                     :
                                          Defendants.
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 On November 6, 2020, I held a telephonic status conference in the above-

captioned matter. As discussed at the conference, this matter shall proceed as follows:

                 1. Plaintiff’s letter motion to compel discovery is denied without prejudice. The

                     Clerk is directed to close ECF No. 76.

                 2. On or before November 18, 2020, the parties shall submit a joint letter to the

                     Court outlining a proposed schedule for depositions and describing any

                     remaining discovery disputes.

                 3. On November 20, 2020, at 10:30 a.m., the parties shall appear for a telephonic

                     status conference. The conference will be held via the following call-in

                     number:

                                   Dial: 888-363-4749

                                   Access code: 7518680

                     All participants are directed to call in at least 5 minutes prior to the start of the

                     conference. No later than November 18, 2020, at 12:00 p.m., the parties shall
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                jointly submit to the court (via the email address

                HellersteinNYSDChambers@nysd.uscourts.gov) a list of all counsel expected

                to appear on the record, along with their contact information.



             SO ORDERED.

Dated:       November 9, 2020              ______/s/_________________________
             New York, New York                 ALVIN K. HELLERSTEIN
                                                 United States District Judge
